                                                                               196-04 HOLLIS AVENUE
                                                                       SAINT ALBANS, NEW YORK 11412
                                                                                      P: (917) 337-2439
                                                                                    FAX: (914) 462-4137


July 26, 2019


VIA ECF AND E-MAIL
Honorable Loretta A. Preska
United States District Court
Southern District of New York
500 Pearl Street, Room 2220
New York, New York 10007


                                               RE:     Kaye v. NYC Health & Hospitals Corp. et. al.
                                                       Index No.: 18-cv-12137(JPO)
                                                       Referral to Mediation Program


Dear Honorable Judge Preska:

         I am writing to respectfully request the designation of a mediator and for the following
discovery to facilitate settlement discussions. In terms of discovery, Plaintiff respectfully requests
the initial production of the following categories of documents:

       1) any salary and all personnel actions for Plaintiff’s comparators at the Court Clinics
          from 2013 to present (i.e. either the Medical Directors or Directors at the Borough
          Court Clinics);

       2) any and all correspondence involving Plaintiff from H + H Office of Corporate
          Compliance, including any and all investigations pertaining to Plaintiff;

       3) any and all correspondence involving Plaintiff and H + H’s EEO Office; and

       4) the initial production of ESI containing Plaintiff’s name in the subject and or body of
          emails from the following custodians from the period of 2013 to present: Patricia (Patsy)
          Yang; Ross MacDonald; Elizabeth Ford; Abhishek Jain; and Jonathan Wangel).

       In closing, Plaintiff is looking forward to participating in the Mediation Program in good
faith. Accordingly, I am writing the Court to insure that the discussions are informed and are
transparent.


Respectfully submitted,

/s/
                                        196-04 HOLLIS AVENUE
                                SAINT ALBANS, NEW YORK 11412
                                               P: (917) 337-2439
                                             FAX: (914) 462-4137


Special Hagan, Esq.
Attorney for Plaintiff
Melissa Kaye, M.D.



Cc:    Donna Canfield, Esq.
       Counsel for Defendants
